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IN THE UNITED STATES DISTRICT COURT

FoR THE DISTRICT oF MARYLANI) g §§ __.._
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UNITED sTATES oF AMERlCA * g i;:, §§ §§
* :2 aaa
v. * CRIMINAL No. 5 L--.'- <.> 2255
* _rTDf/_ l‘§“' C° ‘3 _ §§ -u §‘_3§;,
LIORA WELLES, * (Consplracy m Comm"z? W£E%Fr§§i, am
a/kla “Lindsay Cole,” “Lindsay "‘ 18 U.S.C. § 371) § '_¢F"' T-' §§
Wells,” and Lindsay Taylor” * 2 g §-4
Defendant "‘ m
INFORMATION

The Acting Chief of the U.S. Department of Justice, Criminal Division, Fraud Section

charges that:
GENERAL ALLEGATIONS

The Defendant and Related Entities

l. The defendant, LIORA WELLES (WELLES), was a resident of the country of

lsrael.

2. Yukom Communications was an IsraeI-based business that provided sales and

marketing services, including "retention services” for two intemet-based businesses with the brand

names BinaryBook and BigOption.

3. BinaryBook and BigOption sold and marketed financial instruments known as

“binary options." BinaryBook and BigOption sold and marketed binary options to customers
located throughout the world, including in the United States and within the District of Maryland.

4. Yukom provided retention services on behalf of BinaryBook and BigOption

through the use of communications by emai| and by phone to individuals in the United States,

including in the District of Maryland, and elsewhere throughout the world. Retention services

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were services provided with the objective to obtain additional deposits from investors who had
previously made deposits

5. A conversion agent was a salesperson responsible for converting a prospective
binary options customer into an investor and obtaining an initial deposit of fi.inds. A retention
agent was responsible for working with the investor going forward with the goal of obtaining
additional deposits Yukorn salespeople sometimes referred to themselves as “brokers” or
“traders” to potential investors.

6. From in or about September 2014 though in or about August 2016, WELLES
worked as a sales representative for BinaryBook and BigOption.

7. In correspondence and other communications WELLES identified herseif` as a
“Senior Broker," “Account Manager," “Hedge Fund Manager,"` “Senior Analyst," or “E`,xpert
Trader” f`or BinaryBook and/or BigOption.

Bina§y Options

8. A binary option was a type of` option contract in which the payout depended on the
outcome of` a discrete event, typically related to whether the price of a particular asset-such as a
stock or a commodity»~would rise above or fall below a specified amount. Unlike standard
options, investors in binary options were not given the opportunity to actually purchase a stock or
a commodity but, rather, Were effectiver predicting whether its price would be above or below a
certain amount at a certain time of the day. The option holder Was typically promised that when
the binary option expired, the option holder wouid receive either a pre-determined amount of cash
or nothing.

9. While some binary options were listed on registered exchanges or traded on a

designated contract market that were subject to oversight by U.S. regulators, such as the Securities

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and Exchange Commission and the Commodity Futures Trading Commission, neither BinaryBook
nor Big()ption sold binary options that were traded on a legal and regulated designated contract
market in the United States.
Related Def`initions

lO. A “bonus” was an amount that representatives of BinaryBook and BigOption could
contribute to an investor’s account to be used in trading.

ll. A “risk f`ree trade"’ or “insured trade” was a trade offered by representatives to
investors in Which the investors’ accounts would be reimbursed by “bonus” funds in the event of`

a losing trade.

The Victims
12. Victim A, an investor in BinaryBook, was a resident of Gaithersburg, Maryland,
located in the District of` Maryland.
13. Victim B, an investor in BigOption, was a resident of` Laurel, Maryland, located in

the District of Maryland.
l4. Victim C_. an investor in BinaryBook, was a resident of Annapolis, Maryland,
located in the District of Maryland.

COUNT ONE
(Conspiracy to Commit Wire Fraud)

15. Paragraphs l through 14 of this lnf`ormation are incorporated here.
16. Beginning in or about September 2014 through in around August 2016, in the
District of Maryland and elsewhere, the defendant,
LIORA WELLES,
and others known and unknown, did knowingly combine, conspire, confederate, and agree with

each other and others, both known and unknown, to commit offenses against the United States, to

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wit, wire fraud, that is, knowingly and with intent to defraud, having devised and intended to devise
a scheme and artifice to defraud and to obtain money and property by means of materially false
and fraudulent pretenses, representations, promises, and knowing concealment concerning a
material fact or matter, to transmit and cause to be transmitted by means of wire communications
in interstate and foreign commerce, writings, signs, signals, pictures and sounds for the purpose of
executing the scheme and artifice, in violation of 'l`itle 18, United States Code, Section 1343.
Purpose of the Col_lspiracv

17. lt was the purpose of the conspiracy for WELLES and representatives of Yukom,
BinaryBook, BigOption, and other entities, to obtain the maximum deposit from investors and to
take steps to ensure that investors lost the money in their accounts-thereby making money for
themselves and their brand in the process.

Manner and Means of the Conspiracv

18. WELLES and her co-conspirators induced investors to deposit funds based on
misrepresentations, including: (l) false statements and material omissions regarding the alignment
of financial incentives between investors and representatives; (2) false statements and material
omissions regarding the suitability of binary options as investments and returns on investments in
binary options; (3) false statements and material omissions about the names, qualifications, and
physical location of representatives assisting investors; and (4) false statements and material
omissions regarding investors’ ability to withdraw investment funds and about the reasons that
funds could not be withdrawn. Representatives of BinaryBook and BigOption also made false
statements and material omissions regarding_and engaged in the deceptive use of~so-ca|led

55 §§

“bonuses, risk free trades," and "‘insured trades."

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Overt Acts in Fl_lrtherance of` the Conspiracv

19. In furtherance of the conspiracy and to effect the objects of the conspiracy, the

following overt acts, among others, were committed in the District of Maryland and elsewhere:

a. On or about August 28, 2015, a BinaryBook representative sent an email through
interstate and foreign commerce to Victim A on behalf of BinaryBook at Victim
A’s Google email account regarding bank wire transfer instructions While Victim
A was in the District of Maryland.

b. On or about March ll, 2015, while in the District of Maryland, Victim B spoke by
telephone with Defendant, who was working on behalf of BigOption.

c. On or about June 15, 2016, an email was sent through interstate and foreign
commerce on behalf of BinaryBook’s “Compliance Department” to Victim C at
Victim C’s Apple email account requesting the completion of a Deposit
Confirmation Form while Victim C was in the District of Maryland.

18 U.S.C. § 371

    
 

ra Moser
Acting Chief, Fraud Secti
U,S. Department of Justice, Criminal Division

